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  EXHIBIT 3
   [REDACTED EXHIBIT 3 TO
DECLARATION OF CARI DAWSON]
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   W.P. 3/1/21

William Whitman
  Defendant's
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